                                                                                  FILED
                                                                              ~UL 2 2 2021
                       UNITED STATES DISTRICT COURT                         P9Jt1~A.
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                    EASTERN DISTRICT OF NO~TH CAROLINA                     BY         uRT,EONC
                                                                             - b f c ; ~ _ DEP CU<
                            SOUTHERN DIVISION

                               No]:   1\--(Jl-q; - FL-
UNITED STATES OF AMERICA                      )
                                              )
      v.                                      )           CRIMINAL
                                              )           INFORMATION
ROYDERA HACKWORTH                             )


      The United States Attorney charges that:

      On or about December 15, 2016, in the Eastern District of North Carolina and

elsewhere, the defendant, ROYDERA HACKWORTH, did knowingly present and

make under oath, and did knowingly subscribe as true under penalty of perjury under

Title 28, United States Code, Section 17 46, a false statement with respect to a

material fact in an Application for Naturalization (Form N-400) and a Notice of Entry

of Appearance as Attorney or Accredited Representative (Form G-28), required by

the immigration laws       and regulations prescribed thereunder,       relating to

naturalization, appearances and representation before the Department of Homeland

Security, that is, Title 8, United States Code, Section 1427, and Title 8, Code of

Federal Regulations, Sections 103.2 and 292, in that:

      a. On Part 15, Box 1, of the Form N-400, in response to "Preparer's Full Name"
         she stated "Omowumni Williams Odedere" when in fact, as she then knew,
         her real name was and is ROYDERA HACKWORTH.

      b. On Part 15, Box 7, of the Form N-400, in response to "Preparer's Statement"
         she stated "I am an attorney or accredited representative whose
         representation extends beyond preparation of this application" when in

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           Case 7:21-cr-00093-FL Document 1 Filed 07/22/21 Page 1 of 2
         fact, as she then knew, her license to practice law had been suspended and
         she was not an accredited representative.

      c. On Part 15, Box 8, of the Form N-400, in response to "Preparer's Signature"
         she signed "Omowumni Odedere" when in fact, as she then knew, her real
         name was and is ROYDERA HACKWORTH.

      d. On Part 1, of the Form G-28, in response to "Name and Address of Attorney
         or Accredited Representative" she stated "Omowumni Williams Odedere"
         when in fact, as she then knew, her real name was and is ROYDERA
         HACKWORTH.

      e. On Part 5, of the Form G-28, in response to "I declare under penalty of
         perjury under the laws of the United States that the information I have
         provided on this form is true and correct" she signed "Omowumni Odedere"
         when in fact, as she then knew, her real name was and is ROYDERA
         HACKWORTH.


      All in violation of Title 18, United States Code, Section 1546(a).



G. NORMAN ACKER III
Acting United States Attorney



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BY: SEBASTIAN KIELMANOVICH
Assistant United States Attorney




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       Case 7:21-cr-00093-FL Document 1 Filed 07/22/21 Page 2 of 2
